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12                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
13
     NEIMAN NIX, an individual; and DNA             Case No.: 3-20-cv-00546-WHA
14   SPORTS PERFORMANCE LAB, INC., a
     Florida corporation,                          ADMINISTRATIVE MOTION TO
15                                                 CONSIDER WHETHER ANOTHER
                         Plaintiffs,               PARTY’S MATERIAL SHOULD BE
16                                                 SEALED
            vs.
17                                                 [Civil L.R. 7-11(f)]
     MAJOR LEAGUE BASEBALL, et al.,
18                                                 Date:              N/A
                         Defendants.               Time:              N/A
19                                                 Courtroom:         Courtroom 12, 19th Floor
                                                   Judge:             Hon. William H. Alsup
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                                                   Complaint Filed:   January 23, 2020
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      Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed,
      #3-20-cv-00546-WHA
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1           Pursuant to N.D. Cal. Local Rule 7-11, Defendant Major League Baseball Players
2    Association (“MLBPA”) hereby respectfully requests the Court to consider whether the
3    document, entitled “Pro Se Plaintiff Nix’s Affidavit,” that is lodged under seal with this
4    Administrative Motion should remain sealed. In Support of this Administrative Motion,
5    MLBPA hereby states as follows:
6           1.      MLBPA is filing this Administrative Motion pursuant to Local Rule 7-11(f) and
7    also this Court’s Order re Request for Accounting and to Show Cause, filed on July 25, 2022,
8    Docket No. 144, which ordered in relevant part as follows:
9           [Plaintiff Neiman] Nix must provide [the defendants] a sworn statement (i.e.,
            under oath), that itemizes in detail any and all funds obtained from any and all
10          sources since June 24, 2021. This must be done by AUGUST 22. The
            [defendants] shall update the Court as to whether Mr. Nix meets this deadline and
11          provide a copy of any documents (lodged conditionally under seal to permit Mr.
            Nix to follow our local rules and file a declaration explaining why the information
12          should not be filed on the public docket).
13   Docket No. 144 at 2:25 – 3:3 (emphasis added).
14          2.      By filing this Administrative Motion, MLBPA is following the Court’s July 25,
15   2022 Order, set forth above, to “provide a copy of any documents (lodged conditionally under
16   seal to permit Mr. Nix to follow [the Court’s] local rules and file a declaration explaining why
17   the information should not be filed on the public docket).” Id.
18          3.      Because Plaintiff Nix is not an ECF user in this case, I will cause him to be
19   served via email and first class mail with this Administrative Motion and the lodged document
20   on the same day that those documents are filed with the Court, pursuant to Local Rule 7-
21   11(f)(2).
22   DATED: August 25, 2022.                       Respectfully submitted,
23                                                 Michael Rubin
                                                   Jeffrey B. Demain
24                                                 ALTSHULER BERZON LLP
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26                                                 By: /s/ Jeffrey B. Demain
                                                           Jeffrey B. Demain (SBN 126715)
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      Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed,
      #3-20-cv-00546-WHA                                                                                1
      Case 3:20-cv-00546-WHA Document 146 Filed 08/25/22 Page 3 of 3


1                                                 Jeffrey D. Perconte (appearance pro hac vice)
                                                  Major League Baseball Players Association
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3                                                 Attorneys for Defendant
                                                  Major League Baseball Players Association
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     Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed,
     #3-20-cv-00546-WHA                                                                       2
